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                                                                          U.S. DISTRICT COURT
                                                                              N.D. OF ALABAMA


                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ALABAMA
                         NORTHEASTERN DIVISION
 SHIRLEY M. JOHNSON, et. al.,          )
                                       )
        Plaintiff,                     )
                                       )
 v.                                    )   Case No.: 5:17-cv-2150-LCB
                                       )
 AIRBUS DEFENSE & SPACE                )
 INC.,                                 )
                                       )
        Defendant.                     )

                                   ORDER
      For the reasons explained in the accompanying Memorandum Opinion,

Plaintiff’s Motion to Strike (Doc. 35) is DENIED. Defendant’s Motion to Strike

(Doc. 43) is GRANTED. Defendant’s Motion for Summary Judgment (Doc. 25) is

GRANTED. This action is therefore DISMISSED with prejudice. Costs are taxed

against Plaintiff.


      DONE and ORDERED this April 6, 2020.



                                  _________________________________
                                  LILES C. BURKE
                                  UNITED STATES DISTRICT JUDGE
